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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


  DARIUS GITTENS,
                                                                       Civil Action
           Plaintiff,                                           No. 18-2519 (RBK)(KMW)

  v.
                                                              MEMORANDUM OPINION
  MILDRED SCHOLTZ, et al.,

           Defendants.
ROBERT B. KUGLER, U.S.D.J.

        Before the Court is Plaintiff Darius Gittens’ motion to reinstate the complaint and request

for other relief. (ECF No. 8). On May 1, 2018, the Court terminated this matter pursuant to Local

Civil Rule 10.1, after receiving notification that the post office returned the Court’s mail to Plaintiff

as undeliverable. (ECF Nos. 4 & 5).

        Prior to receiving Plaintiff’s motion, the Court reinstated this matter upon receiving a letter

from Plaintiff indicating that his address did not change. (ECF No. 9). Consequently, to the extent

that Plaintiff’s motion seeks the reinstatement of this matter, the Court will terminate the motion

as moot.

        Additionally, Plaintiff alleges that the Court received the undeliverable mail notice in error,

due to fraud on the part of a person or group of people, at either the prison or this courthouse.

Plaintiff requests that the Court order a “criminal investigation” into the alleged fraud and

obstruction of justice. (ECF No. 8, at 6). Plaintiff cannot, however, “bring criminal charges in this

Court; that power lies solely with the executive branch.” See, e.g., Telfair v. Post, No. 18-3842,

2018 WL 3054679, at *12 (D.N.J. June 20, 2018); Lewis v. Sessions, No. 17-5475, 2017 WL

7313822, at *1 (D.N.J. Nov. 3, 2017).
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        Courts “have long held that a civil rights plaintiff may not seek relief in civil litigation in

the form of an order directing the criminal prosecution of some third parties,” finding that such

plaintiffs lack standing or that such relief is simply unavailable in a civil suit. E.g., Dicent v. Sears

Holdings, No. 17-332, 2017 WL 1045066, at *5 (M.D. Pa. Feb. 27, 2017) (collecting cases), report

and recommendation adopted, 2017 WL 1042470 (M.D. Pa. Mar. 17, 2017), appeal dismissed,

No. 17-1679, 2017 WL 4417851 (3d Cir. June 20, 2017). Accordingly, to the extent that Plaintiff

requests a criminal investigation, the Court denies that request.

        An appropriate order follows.


February 27, 2019                                               s/Robert B. Kugler
Date                                                            ROBERT B. KUGLER
                                                                United States District Judge




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